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                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI


 IN RE:     Ashley Hope Reaves                                       CASE NO. 20-11142


          DEBTOR(S)                                  CHAPTER 7
______________________________________________________________________________

      NOTICE OF 11 U.S.C. § 341(a) MEETING TO BE HELD BY TELEPHONE
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PLEASE TAKE NOTICE that the 11 U.S.C. § 341(a) meeting of creditors will be conducted via
TELEPHONE by:

Trustee: William L. Fava
Call in number: 877-985-2448
Passcode: 4892659

The following date and time for the meeting have not changed from the original creditor meeting
notice sent to you by the Bankruptcy Court:

May 1, 2020 at 9:00 AM

Please do not appear in-person for the meeting. Debtors must call in to the meeting to be
questioned under oath. In a joint case, both spouses must call in to the meeting. Creditors may
attend but are not required to do so. Debtor attorneys will be responsible for verifying both the
debtors’ photo ID and the debtors’ social security number on the record. If you are a pro se debtor
who appears by telephone, the trustee may require that you appear at a continued meeting in order
to present your proof of identification and social security number and to affirm that you were the
one who testified at the telephonic meeting If the meeting is continued or adjourned to a later date,
the date will be on the court docket. If you have any questions or concerns, please contact your
attorney or the case trustee at:

Trustee Telephone: (662) 536-1116
Trustee Email: wfava@favafirm.com

Dated: March 26, 2020                                         DAVID W. ASBACH
                                                              Acting United States Trustee
                                                              Region 5, Judicial Districts of
                                                              Louisiana and Mississippi
                                                              By: Ronald H. McAlpin

Ronald H. McAlpin (MSB #2182)
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